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13
14                         UNITED STATES DISTRICT COURT
15                           CENTRAL DISTRICT OF CALIFORNIA
                                                 )
16   MICHAEL CHUPA, Individually and             ) CASE NO.: 2:19-cv-09840 CAS (MRWx)
     on behalf of all others similarly situated, )
17                                               ) Judge: Christina A. Snyder
                                Plaintiff,       ) Am. Complaint Filed: July 2, 2020
18                                               )
                  v.                             )
19                                               )
     ARMSTRONG FLOORING, INC.,                   ) NOTICE OF SETTLEMENT AND
20   MICHEL VERMETTE, DONALD                     ) JOINT STIPULATION REQUESTING
     MAIER, LARRY McWILLIAMS,                    ) THE COURT VACATE HEARING ON
21   DOUGLAS BINGHAM, DOMINIC                    ) MOTIONS TO DISMISS CURRENTLY
     RICE, and RONALD FORD,                      ) SET FOR DECEMBER 7, 2020
22                                               )
                                Defendants.      )
23                                               )
                                                 )
24                                               )
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26
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         NOTICE OF SETTLEMENT AND JOINT STIPULATION REQUESTING THE COURT VACATE HEARING
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 1         Lead Plaintiff Randy Marker (“Plaintiff”) and Defendants Armstrong Flooring, Inc.,
 2 Michel Vermette, Larry McWilliams, Dominic Rice, Donald Maier, Douglas Bingham and
 3 Ronald Ford (“Defendants” and, with Plaintiff, the “Parties”), hereby stipulate and agree as
 4 follows:
 5         WHEREAS, on November 15, 2019, Plaintiff Michael Chupa filed the complaint in
 6 the above-captioned action (the “Action”), a putative class action arising under the
 7 Securities Exchange Act of 1934, including the Private Securities Litigation Reform Act of
 8 1995 (the “PSLRA”), 15 U.S.C. § 78u-4, against Defendants (ECF No. 1);
 9         WHEREAS, on March 2, 2020, the Court appointed Plaintiff as Lead Plaintiff and
10 Bernstein Liebhard LLP as Lead Counsel (ECF No. 44);
11         WHEREAS, on July 2, 2020, Plaintiff filed his Amended Complaint for Violations
12 of the Federal Securities Laws (ECF No. 57) (the “Complaint”);
13         WHEREAS, on August 17, 2020, Defendants filed four separate motions to dismiss
14 the Complaint and noticed a hearing on their motions for December 7, 2020 (ECF Nos. 67,
15 70, 72 and 81) (the “Motions to Dismiss”);
16         WHEREAS, on November 30, 3020, the Parties reached an agreement-in-principle
17 to settle the Action and/or resolve it with respect to all Parties;
18         WHEREAS, the Parties agree that, in light of their agreement-in-principle to settle
19 the Action, the hearing currently scheduled for December 7, 2020 on Defendants’ Motions
20 to Dismiss should be taken off calendar;
21         WHEREAS, the Parties further agree that, in light of their agreement-in-principle to
22 settle the Action, Defendants’ Motions to Dismiss should be withdrawn without prejudice
23 to their resubmission if necessary in the future;
24         WHEREAS, the Parties are in the process of reducing the agreement-in-principle to
25 a long-form, written settlement agreement;
26         WHEREAS, the Parties therefore request that the Court set a deadline for Plaintiff to
27 file a motion for preliminary approval of the settlement 45 days after the Court’s Order
28 granting this Joint Stipulation, likely sometime in mid-January 2021;


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 1        WHEREAS, the Parties anticipate that Plaintiff will notice the preliminary approval
 2 hearing on a normal noticed motion schedule where the preliminary approval hearing will
 3 likely take place in late February or March 2021; and
 4        WHEREAS, the Parties further anticipate that, at the preliminary approval hearing,
 5 the Court will set a date for a final approval hearing, taking into account the mandatory
 6 notice period required by the Class Action Fairness Act, 28 U.S.C. § 1715 et seq.
 7        NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, pursuant to
 8 Local Civil Rule 7-1, by and between the undersigned counsel for the undersigned Parties,
 9 subject to Court approval, as follows:
10        1.     The hearing on Defendants’ Motions to Dismiss currently scheduled for
11 December 7, 2020 is off calendar.
12        2.     Defendants’ Motions to Dismiss are withdrawn without prejudice to their
13 resubmission in the future as necessary.
14        3.     The deadline for Plaintiff to file a motion for preliminary approval of any
15 settlement is 45 days from the date of the Court’s Order granting this Joint Stipulation.
16
17 DATED:        December 1, 2020
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                             Michel Vermette, Larry McWilliams and Dominic Rice
 2
                             I, Peter B. Morrison, attest that all other signatories below,
 3                           and on whose behalf this filing is also submitted, concur in
                             the filing’s content and have authorized the filing.
 4
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